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GEORGIY BRUSOVANIK, MD
MINIMALLY INVASIVE SPINE & ORTHOPEDIC SURGERY
Tel: 305-467-5678 Fax: 305-821-6782

To Whom It May Concern,

My name is Dr. Georgiy Brusovanik, a Board-Certified Orthopedic Surgeon. | write to you
with deep concern regarding the medical treatment of Mr. Ari Teman, whose case | have
followed closely due to my involvement as one of the medical experts recommending his
care.

Over several months, myself and two other Board-Certified specialists provided Judge Paul
Engelmayer with detailed medical assessments indicating that Mr. Teman urgently required
medical intervention for severe pain in his back, neck, and genitals. Our recommendations
were based on comprehensive medical imaging which undeniably showed chronic spinal
disc issues, as well as our having independently treated him over years.

Despite our professional consensus, Judge Engelmayer chose to disregard our expertise in
favor of an opinion from a Bureau of Prisons (BOP) administrator lacking in medical
qualifications and the obviously fraudulent reports from a private clinic's doctor contracted
by the BOP. This doctor, who neither examined nor spoke with Mr. Teman, falsely
documented the absence of physical issues in the genitals and spine, as well as COVID
related issues and fall risk — claims contradicted by all available medical evidence.

Upon Mr. Teman's release from BOP custody, subsequent MRIs and ultrasounds by Akumin
and Mount Sinai confirmed our earlier diagnoses, revealing multiple disc issues and a
significant varicocele in the testicle, conditions that any competent medical professional
could not have overlooked.

Moreover, the Department of Justice's insistence on using X-rays to examine Mr. Teman's
neck and genitals was medically inappropriate as this modality is ineffective for visualizing
soft tissue, thus exposing Mr. Teman to unnecessary radiation and risk.

Despite these clear indicators of medical mismanagement and the persistent plea from
multiple experts to move Mr. Teman to home confinement for proper treatment, Judge
Engelmayer not only declined but also appeared to trivialize Mr. Teman’s suffering.

4770 Biscayne Blvd. Suite #1100 » Miami, FL 33137
Tel: 305-467-5678 Fax: 305-821-6782
www.spinedoctormiami.com

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When Mr. Teman visited my office post-release, he was in evident distress, suffering from
conditions that necessitated spinal steroid injections and prolonged recovery to regain
mobility without pain. His current need for surgery might have been mitigated had he
received timely treatment in a sanitary environment, with access to an anti-inflammatory diet
and appropriate orthopedic support, all of which were emphatically recommended by
specialists to Judge Engelmayer, who ignored them.

Mr. Teman lives in fear of further physical torture by Judge Engelmayer, and | implore your
assistance in ensuring Mr. Teman's safety from any additional abuse.

Thank you for considering this grave matter.

LL AceL we

Sincerely,

Dr. Georgiy Brusovanik
Board Certified Orthopedic Surgeon

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